     Case: 3:25-cr-00030-wmc        Document #: 3     Filed: 03/19/25    Page 1 of 9




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA                                SEALED INDICTMENT

              V.                              CasetZ.5.~ C.R Oj Q WMCc

                                                       ~Uh.J.s.c'."§ 1589(a)- .. :
LUIS ABREU and CYBELL ABREU,                             18 U.S.C. § 1594(a) & (b)
                                                         8 u.s.c. § 1324
                                                         18 U.S.C. § 2(a)
                            Defendants.



THE GRAND JURY CHARGES:

                                         COUNTl

      From in or abou t September 2015, to in or about March 2018, in the Western

District of Wisconsin, the defendants,

                          LUIS ABREU AND CYBELL ABREU,

knowingly conspired and agreed to knowingly provide and obtain the labor and

services of persons known and unknown to the Grand Jury by any one of, and by any

combination of, the following means: (a) serious harm and threats of serious harm to

those persons and other persons; (b) abuse and threatened abuse of law and legal

process; and (c) any scheme, plan, and pattern intended to cause those persons to

believe that, if those persons did not perform such labor and services, those persons and

other persons would suffer serious harm.

   (In violation of Title 18, United States Code, Sections 1589(a) and (d), and 1594(b)).
     Case: 3:25-cr-00030-wmc        Document #: 3     Filed: 03/19/25    Page 2 of 9




                                        COUNT2

       From in or about September 2015, to in or about August 2016, in the Western

District of Wisconsin, defendant,

                                      LUIS ABREU,

attempted to, and knowingly provided and obtained the labor and services of "John

Doe 1," a person whose identity is known by the Grand Jury, by any one of, and by any

combination of, the following means: (a) serious harm and threats of serious harm to

"John Doe 1" and another person; (b) abuse and threatened abuse of law and legal

process; and (c) any scheme, plan, and pattern intended to cause "John Doe 1" to

believe that, if "John Doe 1" did not perform such labor and services, that "John Doe 1"

and another person would suffer serious harm.

   (In violation of Title 18, United States Code, Sections 1589(a) and (d), and 1594(a)).

                                        COUNT3

      From in or about February 2016, to in or about May 2017, in the Western District

of Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,

aided and abetted by one another, attemp ted to, and knowingly provided and obtained

the labor and services of "John Doe 2," a person whose identity is known to the Grand

Jury, by any one of, and by any combination of, the following means: (a) serious harm

and threats of serious harm to "John Doe 2" and another person; (b) abuse and

threatened abuse of law and legal process; and (c) any scheme, plan, and pattern



                                             2
     Case: 3:25-cr-00030-wmc         Document #: 3     Filed: 03/19/25    Page 3 of 9




intended to cause "John Doe 2" to believe that, il "John Doe 2" did not p erform such

labor and services, that "Jolu1 Doe 2" and another person would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a), and 2).

                                         COUNT4

      From in or about May 2016, to in or about January 2017, in the Western District

of Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,

aided and abetted by one another, attempted to, and knowingly provided and obtained

the labor and services of "John Doe 3," a person whose identity is known to the Grand

Jury, by means of: (a) serious harm and threats of serious harm to "John Doe 3" and

another person; (b) abuse and threa tened abuse of law and legal process; and (c) any

scheme, plan, and pattern intended to cause "John Doe 3" to believe that, il "John Doe

3" did not perform such labor and services, that "John Doe 3" and another person

would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a), and 2).

                                         COUNTS

      From in or about April 2016, to in or about September 2016, in the Western

District of Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,

aided and abetted by one another, attempted to, and knowingly provided and obtained

the labor and services of "John Doe 4," a person whose identity is known to the Grand

Jury, by any one of, and by any combination of, the following means: (a) serious harm

                                             3
     Case: 3:25-cr-00030-wmc         Document #: 3     Filed: 03/19/25    Page 4 of 9




and threats of serious harm to "John Doe 4" and another person; (b) abuse and

threatened abuse of law and legal process; and (c) any scheme, plan, and pattern

intended to cause "John Doe 4" to believe that, if "John Doe 4" did not perform such

labor and services, that "John Doe 4" and another person would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a), and 2).

                                         COUNT6

      From in or about May 2016, to in or about September 2016, in the Western

District of Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,

aided and abetted by one another, attempted to, and knowingly provided and obtained

the labor and services of "John Doe 5," a person whose identity is known to the Grand

Jury, by any one of, and by any combination of, the following means: (a) serious harm

and threats of serious harm to "John Doe 5" and another person; (b) abuse and

threatened abuse of law and legal process; and (c) any scheme, plan, and pattern

intended to cause "John Doe 5" to believe that, if "John Doe 5" did not perform such

labor and services, that "John Doe 5" and another person would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a) and 2).

                                        COUNT7

      From in or about May 2016, to in or about June 2017, in the Western District of

Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,



                                             4
     Case: 3:25-cr-00030-wmc         Document #: 3     Filed: 03/19/25    Page 5 of 9




aided and abetted by one another, attempted to, and knowingly provided and obtained

the labor and services of "John Doe 6," a person w hose identity is known to the Grand

Jury, by any one of, and by any combination of, the following means: (a) serious harm

and threats of serious harm to "John Doe 6" and another person; (b) abuse and

threatened abuse of law and legal process; and (c) any scheme, plan, and pattern

intended to cause "John Doe 6" to believe that, if "John Doe 6" did not perform such

labor and services, that "John Doe 6" and another person would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a), and 2).

                                         COUNTS

      From in or about February 2017, to in or about March 2018, in the Western

District of Wisconsin, defendants,

                          LUIS ABREU AND CYBELL ABREU,

aided and abetted by one another, attempted to, and knowingly provided and obtained

the labor and services of "John Doe 7," a person w hose identity is known to the Grand

Jury, by any one of, and by any combination of, the following means of: (a) serious

harm and threats of serious harm to "John Doe 7" and another person; (b) abuse and

threatened abuse of law and legal process; and (c) any scheme, plan, and pattern

intended to cause "John Doe 7" to believe that, if "John Doe 7" did not perform such

labor and services, that "John Doe 7" and another person would suffer serious harm.

  (In violation of Title 18, United States Code, Sections 1589(a) and (d), 1594(a), and 2).




                                             5
        Case: 3:25-cr-00030-wmc        Document #: 3      Filed: 03/19/25     Page 6 of 9




                                            COUNT9

        From in or about September 2015, to in or about Au gust 2016, in the Western

District of Wisconsin, the defendant,

                                         LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 1," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 1" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gain.

        (In violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii) & (l )(B)(i)).

                                           COUNT10

        From in or about February 2016, to in or about May 2017, in the Western District

of Wisconsin, the defendant,

                                         LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 2," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 2" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gain.

         (In violation of Title 8, United States Code, Section 1324(a)(1)(A)(iii) & (l)(B)(i)).




                                                6
       Case: 3:25-cr-00030-wmc        Document #: 3       Filed: 03/19/25     Page 7 of 9




                                          COUNT ll

        From in or about May 2016, to in or about January 2017, in the Western District

of Wisconsin, the d efendant,

                                        LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 3," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 3" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gam.

       (In violation of Title 8, United States Code, Section 1324(a)(l )(A)(iii) & (l)(B)(i)).

                                          COUNT12

       From in or about April 2016, to in or about September 2016, in the Western

District of Wisconsin, the defendant,

                                        LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 4," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 4" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advan tage and private financial

gam.

       (In violation of Title 8, United States Code, Section 1324(a)(l )(A)(iii) & (l )(B)(i)).




                                               7
        Case: 3:25-cr-00030-wmc        Document #: 3      Filed: 03/19/25     Page 8 of 9




                                           COUNT13

        From in or about May 2016, to in or about September 2016, in the Western

District of Wisconsin, the defendant,

                                         LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 5," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 5" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gain.

        (In violation of Title 8, United States Code, Section 1324(a)(l)(A)(iii) & (l )(B)(i)).

                                          COUNT 14

        From in or about May 2016, to in or about June 2017, in the Western District of

Wisconsin, the defendant,

                                         LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 6," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 6" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gain.

        (In violation of Title 8, United States Code, Section 1324(a)(l)(A)(iii) & (l)(B)(i)).




                                                8
        Case: 3:25-cr-00030-wmc       Document #: 3       Filed: 03/19/25     Page 9 of 9




                                          COUNT15

        From in or about February 2017, to in or about March 2018, in the Western

District of Wisconsin, the defendant,

                                        LUIS ABREU,

knowing and in reckless disregard of the fact that "John Doe 7," an alien, came to,

entered, and remained in the United States in violation of law, concealed, harbored, and

shielded "John Doe 7" from detection in any place, including on the defendant's

property, and elsewhere, for the purpose of commercial advantage and private financial

gain.

        (In violation of Title 8, United States Code, Section 1324(a)(l)(A)(iii) & (l)(B)(i)).




                                            A TRUE BILL


                                            PRESIDING JUROR
                                                                               1
                                            Indictment returned: _l _o_i_s_-_0_ _-_,_'i_




                                               9
